                       UNITED STATES DISTRICT COURT
                        FOR THE Northern District of Ohio
                      Carl B. Stokes United States Court House

Tammy Decosta
                                  Plaintiff,
v.                                               Case No.: 1:19−cv−01584−BYP
                                                 Judge Benita Y. Pearson
Cuyahoga County, Ohio, et al.
                                  Defendant.



                                SCHEDULING NOTICE



PLEASE TAKE NOTICE OF THE FOLLOWING:
       Notice of Hearing: Pursuant to the agreement of counsel, a conference/hearing
upon the parties' discovery disputes is scheduled before Magistrate Judge George J.
Limbert in Room 229 in Youngstown, Ohio on 3/6/2020 at 1:30 p.m. (Related documents
[22] and [24]). (S,AA)


PLACE
Thomas D. Lambros
United States Courthouse & Federal Building
125 Market Street
Youngstown, OH
44503

February 18, 2020


                                                                Sandy Opacich, Clerk
                                                    Anita Ann Schenker, Deputy Clerk
